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                                                   BRADLEY C. LECHMAN-SU
                                                    ATTORNEY AT LAW - INTERNATIONAL FAMILY LAW



July 20, 2023


by email to: Christelle Samson, Vice-consul
SAMSON Christelle <christelle.samson@diplomatie.gouv.fr>

                                Re: Arnaud Paris; Oregon Judgment No. 23DR08269

Dear Ms. Samson:

I represent Arnaud Paris, and this letter refers to the status of the Oregon judgment No. 23DR08269.
Attached to this letter is the Official Register showing that Judgment (originally the French judgment),
was registered under 23DR08269 and thus it became an Oregon Judgment on the day it was registered,
May 9, 2023. See ORS 109.787(2) for the authority on how a judgment is becomes an Oregon judgment
after Registration.

While an objection has been lodged, the objection has not been heard by the court, and in the
meantime, the judgment is an official, registered judgment entitled to full recognition and enforcement.
However, the Temporary Protective Order of Restraint, which had been granted under a completely
different statute, ORS 107 .097(2), is now completely superceded by the Registered judgment,
effectively dismissed, and thus has no prospective effect.

Please let me know if you have any questions.



Respectfully,

&cdrCl.ahlnSJ

Bradley Lechman-Su, Attorney at Law




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